         Case 1:22-cr-00350-JEB Document 13 Filed 06/16/23 Page 1 of 2




                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA )(
                         )(                         Criminal No. 22-350 (JEB)
            v.           )(                         Chief Judge Boasberg
                         )(                         Plea Hearing: TBD
    JUSTIN DEE ADAMS     )(


                             JOINT STATUS REPORT

         COMES NOW the United States of America and defendant Justin Dee Adams and
respectfully submit a joint status report to the Court. Towards this end, the United States
and Mr. Adams would show:
         1.    On October 7, 2022, Justin Adams was charged by complaint with violating
18 U.S.C. § 111(a)(1) (Assault of a Federal Officer) and related charges in connection with
the events at the U.S. Capitol on January 6, 2021. He was subsequently indicted on
October 26, 2021.
         2.    On October 19, 2021, federal agents arrested Mr. Adams at his home in
Utah. In connection with this arrest, Mr. Adams ended up being charged with another

violation of 18 U.S.C. § 111(a)(1) (Assault on a Federal Officer) in the United States
District Court for the District of Utah (case no. 22-cr-419 (DBB)).
         3.    On October 28, 2021, a magistrate judge in Utah ordered Mr. Adams
detained in both this case and his case in the Utah federal court.
         4.    After Mr. Adams was ordered to be detained, he decided to take his case in
Utah to trial. While awaiting trial in his Utah case, Mr. Adams has been detained in a Utah
jail. While awaiting trial in his Utah case, Mr. Adams and the government negotiated a
plea agreement in this case. The signed plea documents have already been submitted to the
Court.


                                              1
       Case 1:22-cr-00350-JEB Document 13 Filed 06/16/23 Page 2 of 2




       5.      On June 15, 2023, after a jury trial, Mr. Adams was acquitted on the sole
count that had been brought against him in the Utah federal court. Though this acquittal
ended his detention in his Utah case, Mr. Adams is still being held in this case. Given that
Mr. Adams is no longer being held in his Utah case, the parties jointly submit that a plea

hearing can now be scheduled in this case.
       6.      Additionally, given his acquittal in his Utah case, Mr. Adams intends to file
a motion in the very near future asking this Court to review his order of preventive
detention in this case. The government intends to respond to this motion when it is filed.


       WHEREFORE, the United States of America and defendant Justin Dee Adams
submit this joint status report to the Court.


                                                Respectfully submitted,

                                                ____/s/____________
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